        Case 1:19-cv-01116-JFR-JHR Document 13 Filed 01/29/20 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

T.G.,

                Plaintiff,

vs.                                                   Cause No. 1:19-cv-1116 JFR/JHR

BOARD OF COUNTY COMMISSIONERS
OF COUNTY OF RIO ARRIBA, RIO ARRIBA
COUNTY SHERIFF JAMES LUJAN and
RIO ARRIBA COUNTY SHERIFF’S DEPUTY
LEON GALLEGOS,

                Defendants.

              INITIAL DISCLOSURES OF DEFENDANT LEON GALLEGOS

         COMES NOW Defendant, Leon Gallegos, by and through his counsel of record, YLAW,

P.C. (Robert W. Becker, appearing), and make the following initial disclosures pursuant to

Federal Rule of Civil Procedure 26.

      1. The name, address and telephone number of each individual likely to have

discoverable information – along with the subjects of that information – that Defendant

may use to support their defenses, unless the use would be solely for impeachment.

         a.     Leon Gallegos (Rio Arriba County)
                c/o Robert W. Becker, Esq.
                4908 Alameda Blvd., NE
                Albuquerque, NM 87113
                (505) 266-3995

         Deputy Gallegos will testify to issuance of the X-2 taser to him and his actions during the

incident.
       Case 1:19-cv-01116-JFR-JHR Document 13 Filed 01/29/20 Page 2 of 4




       b.     T.G. (Rio Arriba County)
              c/o Shannon L. Kennedy, Attorney at Law
              Kennedy, Kennedy & Ives, P.C.
              1100 2nd Street, NW
              Albuquerque, NM 87102
              (505) 244-1400

              T.G. will testify to his actions during the incident.

       c.     Isaiah Anaya (Espanola)
              Espanola Police Department
              1316 Calle Adelante
              Espanola, NM 87532
              (505) 747-6002

        Officer Anaya was a Rio Arriba County Sheriff’s Officer on the date of the incident. He
will testify to what he observed.

       d.     Ronald Campos (Rio Arriba County)
              Rio Arriba County Sheriff’s Department
              1122 Industrial Park road
              Espanola, NM 87532
              (505) 753-3329

       Transport Officer Campos will testify to comments he overhead T.G. make after the
incident.

       e.     Joseph Cannon (Rio Arriba County)
              1122 Industrial Park road
              Espanola, NM 87532
              (505) 753-3329

       Deputy Cannon will testify to his arrest of T.G. prior to the incident.

       2.     A description by category and location – of all documents, electronically

stored information and tangible things – that Defendants have in their possession, custody

or control and may use to support their defenses unless the use would be solely for

impeachment.

       a.     X-2 Taser

       b.     MP-26 Taser



                                                 2
       Case 1:19-cv-01116-JFR-JHR Document 13 Filed 01/29/20 Page 3 of 4




       c.      Report/Memorandum of Deputy Leon Gallegos dated June 3, 2019

       d.      Charges filed against T.G. prior to incident by Deputy Joseph

Cannon

       e.      Medical records on T.G.

       f.      Rio Arriba County Sheriff’s Office relevant Policies and Procedures

               Copies of these documents are in the possession of defense counsel with the
exception of the tasers, which remain in the custody of the Rio Arriba County Sheriff’s Office
and its deputies.

       3.      A copy of the insurance agreement under which an insurance business may be

liable to satisfy all or part of a possible judgment in the action or to indemnify or reimburse

for payments made to satisfy the judgment.

               Leon Gallegos is insured pursuant to the provisions of the New Mexico Tort Claims

Act and a policy of insurance issued by OneBeacon American Insurance Company. The insuring

agreement from OneBeacon has already been provided to Plaintiff’s counsel in the case of B.L.

on behalf on A.M. v. Board of County Commissioners of County of Rio Arriba, First Judicial

District Court, Rio Arriba County, Case No. D-117-CV-2019-00262.

                                     Respectfully submitted,

                                     YLAW, P.C.


                                     /s/ Robert W. Becker
                                     Robert W. Becker
                                     Attorney for Defendant Leon Gallegos
                                     4908 Alameda Blvd NE
                                     Albuquerque, NM 87113-1736
                                     (505) 266-3995
                                     rbecker@ylawfirm.com




                                                3
       Case 1:19-cv-01116-JFR-JHR Document 13 Filed 01/29/20 Page 4 of 4




I HEREBY CERTIFY that on the 29th
day of January, 2020, I filed the foregoing
electronically through the CM/ECF filing
system, which caused the following parties
or counsel to be served by electronic means,
as more fully reflected on the Notice of
Electronic Filing:

Joseph P. Kennedy
Shannon L. Kennedy
Kennedy Kennedy & Ives, PC
1000 2nd Street, NW
Albuquerque, NM 87102
(505) 244-1400
jpk@civilrightslaw.com
slk@civilrightslaw.com
Attorneys for Plaintiff

James P. Sullivan
Gabriela Delgadillo
Brennan & Sullivan, P.A.
128 E. de Vargas Street
Santa Fe, NM 87501-2702
(505) 995-8514
jamie@brennsull.com
gabriela@brennsull.com
Attorneys for Defendants Board of County
Commissioners of County of Rio Arriba
and James Lujan

/s/ Robert W. Becker




                                               4
